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                        Nos. 24-50721 & 25-50096

     In the United States Court of Appeals
             for the Fifth Circuit
       C OMPUTER & C OMMUNICATIONS I NDUSTRY A SSOCIATION ;
                       N ET C HOICE , L.L.C.,
                                         Plaintiffs-Appellees,
                                   v.
          K EN P AXTON , A TTORNEY G ENERAL , S TATE OF T EXAS ,
                                         Defendant-Appellant.

        S TUDENTS E NGAGED IN A DVANCING T EXAS ; M.F., BY AND
             THROUGH NEXT FRIEND , V ANESSA F ERNANDEZ ;
            A MPERSAND G ROUP , L.L.C.; B RANDON C LOSSON ,
                                         Plaintiffs-Appellees,
                                   v.
          K EN P AXTON , A TTORNEY G ENERAL , S TATE OF T EXAS ,
                                         Defendant-Appellant.

            On Appeals from the United States District Court
            for the Western District of Texas, Austin Division
                     Nos. 1:24-cv-849 & 1:24-cv-945

  BRIEF OF PLAINTIFFS-APPELLEES CCIA AND NETCHOICE

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                  C ERTIFICATE OF I NTERESTED P ERSONS
                                    24-50721
         C OMPUTER & C OMMUNICATIONS I NDUSTRY A SSOCIATION ;
                         N ET C HOICE , L.L.C.,
                                           Plaintiffs-Appellees,
                                       v.
              K EN P AXTON , A TTORNEY G ENERAL , S TATE OF T EXAS ,
                                           Defendant-Appellant.


      The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1 have

an interest in the outcome of this case. Plaintiffs-Appellees CCIA and

NetChoice have no parent corporations and no publicly held corporation

owns 10% or more of their respective stock. These representations are made

in order that the judges of this Court may evaluate possible disqualification

or recusal.

Plaintiffs-Appellees:
Computer & Communications Industry Association, a 501(c)(6) non-stock
Virginia Corporation doing business as CCIA; and NetChoice, L.L.C., a
501(c)(6) District of Columbia organization doing business as NetChoice.
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                                            CCIA and NetChoice
                                            Plaintiffs-Appellees




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            S TATEMENT R EGARDING O RAL A RGUMENT
   The CCIA and NetChoice Plaintiffs agree with Defendant that oral argu-

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Attorney General of Texas, Press Release: Attorney General
   Ken Paxton Launches Investigations into Character.AI,
   Reddit, Instagram, Discord, and Other Companies over
   Children’s Privacy and Safety Practices as Texas Leads the
   Nation in Data Privacy Enforcement (Dec. 12, 2024),
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                             I NTRODUCTION
    The district court correctly concluded that no State can require private

entities to seek out and censor protected speech, based on content and view-

point, on the State’s behalf. It is especially improper for Texas to have done

so. After attempting to prevent social media websites from moderating con-

tent on their services, Texas now requires those same websites (and more) to

censor broadly and vaguely defined categories of protected speech accessi-
ble to minors. “[U]nder the First Amendment, that is a preference Texas may

not impose.” Moody v. NetChoice, LLC, 603 U.S. 707, 743 (2024).

    Through its “monitoring-and-censorship” provisions, Texas House Bill
18 (2023) (“Act” or “HB18”) requires covered websites to “develop and im-

plement a strategy to prevent” minors’ “exposure to”—e.g., “block[]”—

broad, vague, and subjective categories of speech. §§ 509.053, 509.056(1).1
Although CCIA and NetChoice members engage in their own extensive and

effective “content moderation” to address potentially harmful content on

their websites, the Act’s vague governmental demand to do so will chill the

dissemination of protected speech. And HB18’s enumerated means of mod-

erating such content may render websites’ content moderation less effective.

By directing websites’ content moderation, HB18’s monitoring-and-censor-

ship requirements are also preempted by 47 U.S.C. § 230.



1Statutory citations in this brief refer to the Texas Business & Commerce
Code, unless otherwise specified.
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    The district court’s holding correctly followed Supreme Court prece-

dent, and it aligns with judicial decisions nationwide enjoining enforcement

of other online speech restrictions targeted at minors. NetChoice v. Carr, 2025

WL 1768621 (N.D. Ga. June 26, 2025); NetChoice, LLC v. Fitch, 2025 WL

1709668 (S.D. Miss. June 18, 2025); Comput. & Commc’ns. Indus. Ass’n v. Uth-

meier, 2025 WL 1570007 (N.D. Fla. June 3, 2025); NetChoice, LLC v. Yost, 2025

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(N.D. Cal. Mar. 13, 2025); NetChoice, LLC v. Reyes, 748 F. Supp. 3d 1105

(D. Utah 2024).

    This Court should therefore affirm the district court’s preliminary in-

junction in this case, preventing Defendant’s enforcement of § 509.053 and

§ 509.056(1).

                     S TATEMENT OF J URISDICTION
    The district court had jurisdiction under 28 U.S.C. §§ 1331 and 1343(a).

This Court has jurisdiction under 28 U.S.C. § 1292.

                             I SSUE P RESENTED
    Whether the district court abused its discretion in preliminarily enjoin-

ing Defendant from enforcing HB18’s monitoring-and-censorship provi-

sions, §§ 509.053, 509.056(1).




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                          S TATEMENT OF THE C ASE

      A. Background.

          1. CCIA and NetChoice members’ websites curate,
             disseminate, and enable vast amounts of speech protected
             by the First Amendment.
      CCIA and NetChoice are two leading trade associations focused on the

internet and digital services. Based on the Act’s central “digital service pro-

vider” coverage definition, the Act regulates websites operated by at least
the following CCIA and NetChoice members: (1) Discord; (2) Facebook

(Meta);    (3) Instagram    (Meta);   (4) Nextdoor;       (5) Pinterest;   (6) Reddit;

(7) Snapchat (Snap Inc.); (8) X; and (9) YouTube (Google). ROA.137 ¶ 23
(Schruers Decl.); ROA.155-56 ¶ 23 (Szabo Decl.); ROA.160 ¶ 5 (Veitch Decl.).2

      HB18 regulates CCIA and NetChoice members based on their shared

speech-facilitating functions. It is aimed at “social media” websites that “al-

low users to upload content . . . to share [it] with others,” where those




2   Discord and Reddit joined NetChoice after Defendant appealed.
    Defendant has announced “investigations into . . . Reddit, Instagram,
and Discord . . . pursuant to the Securing Children Online through Parental
Empowerment (‘SCOPE’) Act [i.e., Texas HB18] and the Texas Data Privacy
and Security Act.” Attorney General of Texas, Press Release: Attorney Gen-
eral Ken Paxton Launches Investigations into Character.AI, Reddit, Insta-
gram, Discord, and Other Companies over Children’s Privacy and Safety
Practices as Texas Leads the Nation in Data Privacy Enforcement (Dec. 12,
2024), https://tinyurl.com/mrw355t8/.

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“viewing the content can” “react to it, comment on it, or share it themselves.”

Moody, 603 U.S. at 719.

     As a result, members are covered if they “allow[] users to gain access to

information and communicate with one another about it on any subject that

might come to mind.” Packingham v. North Carolina, 582 U.S. 98, 107 (2017).

Teens (like adults) use these websites for protected expression, education,

civic engagement, and plain “entertain[ment],” Joseph Burstyn, Inc. v. Wilson,
343 U.S. 495, 501 (1952). Both Plaintiffs have members fitting this description.

E.g., ROA.126-28 ¶¶ 4, 6-7 (Schruers Decl.); ROA.142 ¶ 6 (Szabo Decl.).

         2. Parents already have many tools to oversee how their
            children use the internet.
     “[P]arents may rightly decide to regulate their child’s use of social me-

dia . . . . And many tools exist to help parents with this endeavor.” Griffin,

2025 WL 978607, at *3.
     Parents can control what devices minors can access—and when. ROA.143

¶ 8 (Szabo Decl.). Not all devices are internet-enabled. ROA.143 ¶ 8 (Id.).

And devices themselves come with many built-in parental-control options.

ROA.143-44 ¶ 8.b (Id.). Those options include the ability to lock or limit apps

and features, restrict settings to limit content, limit access to only approved

websites, and set overall or time-of-day and usage limits. ROA.143-44 ¶ 8.b

(Id.).

     Parents also have control over the networks that minors use. ROA.143

¶ 8.a (Id.). Wireless routers allow parents to manage which network a minor


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connects to, if any. ROA.143 ¶ 8.a (Id.). They also allow parents to set up

rules defining which websites minors can use (and at what times). ROA.143

¶ 8.a (Id.). Many internet service providers offer similar tools. ROA.143 ¶ 8.a

(Id.).

     Parents can also control software. ROA.144 ¶ 8.c (Id.). Many web brows-

ers offer parental controls. ROA.144 ¶ 8.c (Id.). Third-party parental control

software is also available for many devices. ROA.143 ¶ 8.a (Id.).
     Many CCIA and NetChoice members have developed their own suite of

parental controls and other protections for minors. E.g., ROA.144-46 ¶¶ 8.d,

9 (Id.); ROA.162-67 ¶¶ 11-16 (Veitch Decl.). In addition, their members’ ser-

vices do not permit minors younger than 13 to create accounts for accessing

the services regulated by HB18. ROA.145 ¶ 9.a (Szabo Decl.). Thus, “minors”

in this case refers only to teenagers.

         3. Covered websites’ content-moderation policies prioritize
            user safety, and address the kind of content that Texas
            House Bill 18 (2023) requires to be monitored and blocked.
     Members’ parental controls supplement the resources that members ex-

pend crafting and enforcing “content moderation” policies that aim to pre-

vent harmful or objectionable speech from reaching users. Moody, 603 U.S.

at 717; e.g., ROA.128-29 ¶¶ 8-10 (Schruers Decl.); ROA.146 ¶¶ 10-17 (Szabo

Decl.); ROA.167-75 ¶¶ 17-28 (Veitch Decl.); ROA.184-86 ¶¶ 10-14 (Pai Decl.).

     Plaintiffs’ members have content-moderation policies that address mul-

tiple kinds of content. A member website might remove content from its


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website merely for being off-topic. E.g., ROA.152 ¶ 17.c (Szabo Decl.)

(“Nextdoor is intended primarily for neighbors to share community-related

information,” not “personal interests.” (citation omitted)). Members also

must contend with speech that is lawful yet considered objectionable by

many, such as hate speech and graphic violence. E.g., ROA.152 ¶ 17.b (Id.)

(“Meta prohibits hate speech.” (emphasis omitted)); ROA.152 ¶ 17.d (Id.)

(“Pinterest prohibits . . . ‘content that shows the use of violence.’” (cleaned
up)). Members’ content-moderation policies also seek to block material that

is illegal, such as child sexual abuse material. E.g., ROA.150 ¶ 15.a (Id.)

(“YouTube prohibits all ‘sexually explicit content featuring minors and con-

tent that sexually exploits minors.’” (emphasis omitted)).

    The record shows that CCIA’s and NetChoice’s members already have

content-moderation policies disallowing broad categories of objectionable
speech, including content regulated by the Act. ROA.147-53 ¶¶ 12-17 (Szabo

Decl.); ROA.168-70 ¶ 19 (Veitch Decl.); ROA.185 ¶ 13 (Pai Decl.).

    The record also reflects that “‘companies are successfully prioritizing the

safety of their users.’” ROA.146 ¶ 10 (Szabo Decl.) (citation omitted). Yet,

content moderation is difficult. ROA.153-54 ¶¶ 18-21 (Id.); see ROA.129-33

¶¶ 11-17 (Schruers Decl.). Scale is one reason. “For instance, in just a six-

month span from July to December 2020, Facebook (≈5.7 billion), Instagram

(≈65.3 million), Pinterest (≈2.1 million), Snapchat (≈5.5 million), YouTube

(≈17.2 million), and X (≈4.5 million) removed approximately 5.9 billion

posts.” ROA.153 ¶ 19 (Szabo Decl.); ROA.130-31 ¶ 13 (Schruers Decl.).

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Complexity and subjectivity are others. ROA.154 ¶ 21 (Szabo Decl.). “Con-

sequently, for many individual pieces of user-generated content, there will

never be one ‘correct’ content-moderation answer[.]” ROA.131 ¶ 14 (Schru-

ers Decl.). And successful content moderation requires constant innovation,

because “malicious actors always attempt to find ways to avoid modera-

tion.” ROA.154 ¶ 21 (Szabo Decl.); ROA.133 ¶ 17 (Schruers Decl.).

    B. Texas HB18 is a content-based law that requires covered
       websites to block speech.

        1. HB18’s content-based coverage definition of “digital
           service provider.”
    In general, HB18 regulates “social media” websites that “allow users to

upload content . . . to share [it] with others.” Moody, 603 U.S. at 719. This is
consistent with common usage of “social media.” See id. HB18 regulates the

kinds of “social media” websites that Packingham held people have a right to

“access,” free from governmental restraint. 582 U.S. at 108.

    HB18 targets any “own[er]” or “operat[or]” of an online service that:

    (1) “determines” the “means” and “purpose of collecting and pro-
    cessing [users’] personal identifying information”;

    (2) “connects users in a manner that allows users to socially interact
    with other users”;

    (3) “allows a user to create a public or semi-public profile for purposes
    of signing into and using the” website; and

    (4) “allows a user to create or post content that can be viewed by other
    users . . . including sharing content on: (A) a message board; (B) a chat


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    room; or (C) a landing page, video channel, or main feed that presents
    to a user content created and posted by other users.”

§§ 509.001(1)-(2), 509.002(a) (emphases added). By its plain language exem-
plified by the emphasized terms, HB18 is limited to services that publicly

disseminate speech to multiple users.

    This definition also has multiple content-based exceptions. For example,

websites are excluded if they “primarily” feature “news, sports, commerce,

or content primarily generated or selected by the [website].” § 509.002(b)(10).

HB18 also excludes search engines, “small business[es],” and “institution[s]

of higher education,” among others. § 509.002(b).

    The Act does not regulate the “kinds of” services for which Moody ques-

tioned whether a different First Amendment analysis might apply (in ad-

dressing the distinct context of compelled-speech-dissemination laws). 603

U.S. at 718, 724-25. The Act excludes “[e]mail,” and “direct messaging ser-

vices.”§ 509.002(b)(9). So it excludes “email” and “direct messaging,” Moody,

603 U.S. at 724-25, including services like “Google Mail” and direct messag-

ing services like “Microsoft Teams” and “Google Meet,” NetChoice, L.L.C. v.

Fitch, 134 F.4th 799, 809 (5th Cir. 2025). The Act excludes content “primarily

generated or selected by the [website].” § 509.002(b)(10). So it excludes “ride-

sharing service[s] like Uber,” Moody, 603 U.S. at 725, “Google Maps,” and

“DraftKings,” Fitch, 134 F.4th at 808. And the Act excludes services that “pri-

marily” feature “commerce” and “sports.” § 509.002(b)(10). So it excludes




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“payment service[s],” “online marketplace[s],” “ride-sharing service[s],”

Moody, 603 U.S. at 725, and “DraftKings,” Fitch, 134 F.4th at 808.

       2. HB18’s monitoring-and-censorship requirements.
   HB18 requires covered websites to monitor for and block many broad

and vaguely worded categories of speech. Under HB18, covered websites

must “develop and implement a strategy to prevent [a] known minor’s ex-

posure to” subjective categories of speech. That includes content that “pro-

motes,” “glorifies,” or “facilitates,” the following content-based catego-

ries: (1) suicide; (2) self-harm; (3) eating disorders; (4) substance abuse;
(5) stalking; (6) bullying; (7) harassment; (8) grooming; (9) trafficking;

(10) “child pornography”; or (11) other sexual exploitation or abuse.

§ 509.053(a). Likewise, websites must monitor for and block “harmful mate-

rial,” id.—defined as obscenity for minors, § 509.001(3) (incorporating Tex.

Pen. Code § 43.24).

   Accordingly, covered websites must determine which speech on their

services arguably falls within these categories of prohibited speech, and then

they must attempt to prevent minors from seeing (i.e., being “expos[ed] to”)

this prohibited speech. § 509.053(a). In addition, any covered website “that

uses algorithms to automate the suggestion, promotion, or ranking of infor-

mation to known minors on the digital service shall . . . make a commercially

reasonable effort to ensure that the algorithm does not interfere with” these




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“duties.” § 509.056(1). In other words, any algorithms used by covered web-

sites must comply with the monitoring-and-censorship requirements.

   The Act also details precisely how websites must monitor and block

speech, by imposing mandatory and permissive technical requirements.

   Websites’ strategies “must include” mechanisms that would, among

other things, “block from display” prohibited content, by:

   (A) creating and maintaining a comprehensive list of harmful mate-
   rial or other content described by Subsection (a) to block from dis-
   play to a known minor;

   (B) using filtering technology and other protocols to enforce the
   blocking of material or content on the list under Paragraph (A);

   (C) using hash-sharing technology and other protocols to identify re-
   curring harmful material or other content described by Subsection
   (a);

   (D) creating and maintaining a database of keywords used for filter
   evasion, such as identifiable misspellings, hash-tags, or identifiable
   homoglyphs;

   (E) performing standard human-performed monitoring reviews to
   ensure efficacy of filtering technology;

   (F) making available to users a comprehensive description of the cat-
   egories of harmful material or other content described by Subsection
   (a) that will be filtered; and

   (G) making available the digital service provider’s algorithm code to
   independent security researchers.

§ 509.053(b)(1) (emphasis added).



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    In addition to those mandatory actions, strategies “may include”:

    (A) engaging a third party to rigorously review the digital service
    provider’s content filtering technology;

    (B) participating in industry-specific partnerships to share best prac-
    tices in preventing access to harmful material or other content de-
    scribed by Subsection (a); or

    (C) conducting periodic independent audits to ensure:

      (i) continued compliance with the digital service provider’s strat-
      egy; and

      (ii) efficacy of filtering technology and protocols used by the digi-
      tal service provider.

§ 509.053(b)(2) (emphasis added).

        3. Enforcement.
    Any “violation” of HB18 is “a deceptive act or practice” under Texas law

enforceable by “the attorney general’s office.” § 509.151. Defendant may seek
civil penalties of “$10,000 per violation.” § 17.47(c)(1). HB18 also creates a

“private right of action.” § 509.152(a).

    C. Procedural history.
    Plaintiffs sued and filed a preliminary injunction motion. ROA.399. After

full briefing, the district court preliminarily enjoined Defendant’s enforce-
ment of §§ 509.053, 509.056(1), under the First Amendment and Due Process

Clause. ROA.431. Defendant appealed.




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                     S UMMARY OF THE A RGUMENT
    I. Under this Court’s precedent, CCIA and NetChoice have associational

standing to raise their members’ rights and “prudential standing [to] as-

sert[]” members’ “users’ First Amendment rights.” Fitch, 134 F.4th at 807.

    II. HB18’s monitoring-and-censorship requirements violate the First

Amendment.

    A. Whether understood as a prior restraint or a content-based and view-

point-based regulation of speech, these requirements trigger heightened

First Amendment scrutiny. States cannot “create a wholly new category of
content-based regulation that is permissible only for speech directed at chil-

dren.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 794 (2011). Nor can States

“deputize[] private actors into censoring speech based on its content.”

NetChoice, LLC v. Bonta, 113 F.4th 1101, 1121 (9th Cir. 2024) (citing United

States v. Playboy Ent. Grp., 529 U.S. 803, 806, 813 (2000)).

    B. HB18’s monitoring-and-censorship requirements cannot satisfy
heightened First Amendment scrutiny. States do not have “a free-floating

power to restrict the ideas to which children may be exposed.” Brown, 564

U.S. at 794.

    The record shows that the Act’s speech regulations are not the least re-

strictive means of achieving a compelling governmental interest. Covered

websites already engage in extensive content moderation to address poten-

tially harmful speech on their services. Parents already have tools to oversee




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their children online. And the State itself can enforce criminal law address-

ing truly unprotected speech and conduct.

    C. The district court correctly concluded that HB18’s monitoring-and-

censorship requirements are facially unconstitutional. Defendant’s view of

the First Amendment facial-challenge standard is contrary to longstanding

precedent, and would condone all manner of censorship laws.

    III. In addition, HB18’s monitoring-and-censorship requirements are
unconstitutionally vague. Deciding whether any individual piece of content

falls within HB18’s content categories requires subjective and context-de-

pendent determinations to be made at enormous scale.

    IV. 47 U.S.C. § 230 (“§ 230”) preempts HB18’s monitoring-and-censor-

ship requirements. States cannot, consistent with § 230, penalize websites for

their alleged “failure[s] to implement basic safety measures” or “decisions
relating to the monitoring” or “screening” “of content”—i.e., content moder-

ation. Doe v. MySpace, Inc., 528 F.3d 413, 419-20 (5th Cir. 2008) (citation omit-

ted). Defendant has previously recognized that States cannot “requir[e] the

monitoring or deletion of third-party content” on online services. Appellant

Br.31, Free Speech Coal., Inc. v. Paxton, 2023 WL 6465441 (5th Cir. Sept. 25,

2023) (emphasis added) (“FSC Br.”).

    V. The remaining preliminary injunction factors favor affirmance.




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                          S TANDARD OF R EVIEW
    This Court “review[s] the district court’s grant of preliminary injunction

for abuse of discretion, reviewing underlying factual findings for clear error

and legal conclusions de novo.” Book People, Inc. v. Wong, 91 F.4th 318, 328

(5th Cir. 2024) (cleaned up).

                                 A RGUMENT
    Plaintiffs CCIA and NetChoice satisfied all four preliminary-injunction

factors: (1) “likelihood of success on the merits,” (2) “irreparable harm,”
(3) the “balance of equities,” and (4) the “public interest.” Id. at 336 (cleaned

up).3

I. CCIA and NetChoice have associational standing to challenge
   HB18’s monitoring-and-censorship requirements.
    CCIA and NetChoice have associational standing to challenge regula-

tions of their members, like HB18. ROA.405-10. This Court’s binding prece-

dent holds that NetChoice has associational standing to raise both its mem-

bers’ rights and “prudential standing [to] assert[] [members’] users’ First

Amendment rights.” Fitch, 134 F.4th at 805-07. CCIA is similarly, if not



3Plaintiffs CCIA and NetChoice defend the preliminary injunction issued in
their case, W.D. Tex. No. 1:24-cv-849, prohibiting Defendant’s enforcement
of § 509.053 and § 509.056(1). See ROA.431. This brief therefore will not ad-
dress many of Defendant’s arguments related solely to the consolidated
SEAT case. See Br.15-29 (SEAT plaintiffs’ standing); Br.38-41, 46
(§§ 509.052(2)(D) and 509.055’s targeted advertising provisions); Br.41-43
(§ 509.057’s age-verification requirement).

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identically, situated and likewise has associational standing. See id. Fitch is

dispositive here because it concerned a nearly identical monitoring-and-cen-

sorship requirement. See id. at 803.

    Perhaps that is why Defendant’s brief does not contest either CCIA’s or

NetChoice’s standing.4 Defendant has therefore forfeited any argument

about the prudential (as compared to jurisdictional) prong in the associa-

tional-standing analysis.5 That prudential prong evaluates whether “the
claim asserted []or the relief requested requires the participation of individ-

ual members in the lawsuit.” Tex. Ass’n of Mfrs. v. U.S. Consumer Prod. Safety

Comm’n, 989 F.3d 368, 377 (5th Cir. 2021). In any event, none of the claims or

relief raised by CCIA and NetChoice in this case require the participation of

their individual members as parties. Fitch, 134 F.4th at 805.6


4Purported lack of associational standing is just one of the arguments that
Defendant abandons on appeal, including: (1) sovereign immunity,
ROA.242-43; and (2) ripeness, ROA.244-45.
5“[A]ny issue not raised in an appellant’s opening brief is forfeited.” United
States v. Zuniga, 860 F.3d 276, 284 n.9 (5th Cir. 2017) (citation omitted).
6 Amici States erroneously make the forfeited argument that CCIA and
NetChoice lack standing because this case purportedly “requires the partic-
ipation of individual members in the lawsuit.” ECF 78 at 11-12 (citation omit-
ted). They contend that evaluating how the monitoring-and-censorship re-
quirements apply to individual members requires “fact-finding about differ-
ent members.” Id. at 12. But this Court does not need to inquire into the pre-
cise editorial discretion exercised by each covered website to determine
whether it is unlawful for the State to tell private entities what content is
appropriate on their services. Amici States rely heavily on deposition

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II. HB18’s monitoring-and-censorship provisions violate the First
    Amendment.
    The district court correctly concluded that HB18’s monitoring-and-cen-

sorship requirements violate the First Amendment. ROA.417-21. They im-

pose content-based and viewpoint-based speech restrictions that cannot sat-

isfy strict scrutiny. Consequently, at a minimum, the Act is unconstitutional

as applied to covered members’ services. John Doe No. 1 v. Reed, 561 U.S. 186,

194 (2010) (analyzing challenge “to the extent of [the] reach” defined by
plaintiff). And the district court correctly held that the provisions are facially

invalid as well.

    A. HB18’s monitoring-and-censorship requirements trigger
       heightened First Amendment scrutiny for several reasons.
    HB18’s monitoring-and-censorship requirements trigger strict scrutiny

in multiple ways. “When the Government restricts speech, the Government

bears the burden of proving the constitutionality of its actions.” FEC v. Cruz,

596 U.S. 289, 305 (2022) (citation omitted). That is why “[t]he Supreme Court

has previously applied First Amendment scrutiny to laws that deputize pri-

vate actors into determining whether material is suitable for kids.” Bonta, 113

F.4th at 1118.




testimony from a case where a Florida court held that both CCIA and
NetChoice have associational standing. Compare ECF 78 at 19-20, with Uth-
meier, 2025 WL 1570007, at *6-9.

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    First, HB18’s monitoring-and-censorship requirements impose a prior

restraint on disseminating speech to minors. As Defendant forthrightly

acknowledges, these provisions require covered websites to “monitor and

filter from [minors’] view” content-based and viewpoint-based categories of

speech. Br.1.

    Second, even if they were not prior restraints, these provisions violate

websites’ right to “control the content that will appear to users.” Moody, 603
U.S. at 736. HB18 seeks to replace private websites’ voluntary content-mod-

eration policies with the State’s own—enforced using tools prescribed by the

State. But the Supreme Court has made clear that those decisions belong to

private websites. See id.

        1. HB18’s monitoring-and-censorship requirements impose
           an impermissible prior restraint on speech.
    HB18’s monitoring-and-censorship requirements are an unconstitu-
tional prior restraint on speech. The district court did not reach this issue,

but it is alternative grounds for affirmance. See ROA.419 n.12; see Matter of

Sims, 994 F.2d 210, 214 (5th Cir. 1993).

    Prior restraints are the “least tolerable infringement on First Amendment

rights.” Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). Even prior re-

straints of unprotected speech must meet “the most exacting scrutiny.” Smith

v. Daily Mail Publ’g Co., 443 U.S. 97, 102 (1979) (collecting cases); e.g., Bantam

Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963). And requiring websites to




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constantly pre-screen and monitor all content they disseminate to the State’s

standards will chill speech. Smith v. California, 361 U.S. 147, 153-54 (1959).

    HB18 requires websites to “implement” “strateg[ies]” to “prevent [a]

known minor’s exposure to” multiple categories of content—including by

“blocking” content. § 509.053(a), (b)(1)(B) (emphases added). This necessarily

entails monitoring and acting as “a pre-clearance censor” for all speech on

the website. Moore v. City of Kilgore, 877 F.2d 364, 383 (5th Cir. 1989). These
monitoring-and-censorship requirements are a prior restraint, because they

“bar[] speech in the future,” rather than just “penalizing past speech.” Alex-

ander v. United States, 509 U.S. 544, 553 (1993).

    States may not enact prior restraints by commandeering private actors

into becoming pre-screening tribunals for the State. E.g., Bantam Books, 372

U.S. at 66. Bantam Books involved that kind of forced deputization, and the
Supreme Court invalidated that scheme as a prior restraint because “a gov-

ernment official cannot do indirectly what she is barred from doing di-

rectly.” Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 190 (2024) (discussing

Bantam Books, 372 U.S. 58, 67-69).

    Here, Defendant argued in the district court that “prior restraints must

typically come from ‘administrative and judicial orders,’” rather than stat-

utes. ROA.419 n.12. That is incorrect. In addition to government licensing

boards and judicial orders, statutes can impose prior restraints too. E.g., Near

v. Minnesota ex rel. Olson, 283 U.S. 697, 723 (1931) (statute was an unconstitu-

tional prior restraint where its “operation and effect” was to “impose[]” a

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“restraint upon” speech). Courts “look through forms” of speech regulation

“to the substance,” as even “informal censorship may” chill speech. Bantam

Books, 372 U.S. at 67.

        2. HB18’s monitoring-and-censorship requirements violate
           the First Amendment by regulating overbroad content-
           based and viewpoint-based categories of protected speech.
    a. Even if HB18 did not impose a prior restraint, its monitoring-and-cen-

sorship requirements independently trigger strict First Amendment scrutiny

by requiring monitoring and censoring of content-based and viewpoint-

based categories of speech. See ROA.417-18.
    The First Amendment’s “most basic” principle is that “government has

no power to restrict expression because of its message, its ideas, its subject

matter, or its content.” Brown, 564 U.S. at 790-91 (citation omitted). The “Con-
stitution does not permit government to decide which types of otherwise

protected speech are sufficiently offensive to require protection for the un-

willing listener or viewer.” Erznoznik v. Jacksonville, 422 U.S. 205, 210 (1975).

Contrary to Amici States’ arguments, that is no less true when the govern-

ment attempts to regulate speech available to minors. Contra ECF 78 at 20-

25. “Minors are entitled to a significant measure of First Amendment protec-

tion, and only in relatively narrow and well-defined circumstances may gov-

ernment bar public dissemination of protected materials to them.” Brown,

564 U.S. at 794 (cleaned up) (quoting Erznoznik, 422 U.S. at 212-13).




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    HB18’s plain language targets specific content categories encompassing

wide swaths of protected speech. § 509.053(a). HB18’s requirements are con-

tent-based, because they “single[] out specific subject matter for differential

treatment.” Reed v. Town of Gilbert, 576 U.S. 155, 169 (2015). “Content-based

laws—those that target speech based on its communicative content—are

presumptively unconstitutional and may be justified only if” they satisfy

“strict scrutiny.” Id. at 163-64 (citations omitted).
    Likewise, HB18 discriminates on the basis of “viewpoint”: the State’s

“judgment that the content of protected speech is offensive or inappropri-

ate.” Robinson v. Hunt Cnty., 921 F.3d 440, 447 (5th Cir. 2019). Viewpoint-

based restrictions likewise trigger strict scrutiny. Id. HB18 identifies speech

that “promotes,” “glorifies,” or “facilitates” prohibited topics. § 509.053(a).

None of these terms is defined by statute, but their plain meaning would
force websites to make normative judgments about speech. The Supreme

Court has held that a law is directly “aimed at a particular viewpoint” if it

forbids “promot[ing].” Sorrell v. IMS Health Inc., 564 U.S. 552, 565 (2011).

“Promote” means “to encourage people to like, buy, use, do, or support

something.” “Promote,” Cambridge Dictionary, https://perma.cc/V7KW-

R5MY; see United States v. Miselis, 972 F.3d 518, 536 (4th Cir. 2020) (the plain

meaning of “promote” encompasses “an abundance of hypothetical efforts

to persuade that aren’t likely to produce an imminent” lawless action). And

“glorify” means “[t]o render glorious; to invest with glory, procure glory

for.” “Glorify,” Oxford English Dictionary, https://perma.cc/27L8-YBUZ.

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Like “promote,” to “glorify” is to convey the viewpoint that whatever being

“glorified” is good.

    Even if objectionable to some, “‘mere advocacy’ of illegal acts” is “speech

falling within the First Amendment’s core.” Counterman v. Colorado, 600 U.S.

66, 76 (2023) (citation omitted); see Texas v. Johnson, 491 U.S. 397, 414 (1989)

(“[T]he government may not prohibit the expression of an idea simply be-

cause society finds the idea itself offensive or disagreeable.”); Nwanguma v.
Trump, 903 F.3d 604, 610 (6th Cir. 2018) (“[m]ere tendency of speech to en-

courage” or promote “unlawful acts” isn’t “sufficient reason for banning it”

(cleaned up)). And the government cannot purport to regulate only the ef-

fects of speech using content-based and viewpoint-based distinctions. See

Boos v. Barry, 485 U.S. 312, 321 (1988).

    As a result, HB18’s prohibited speech categories cover a wide array of
protected works of art, literature, philosophy, and plain everyday speech:

    “Suicide, self-harm, or eating disorders.” Many protected works of art, liter-

ature, and philosophy “promote[], glorif[y], or facilitate[] . . . suicide, self-

harm, or eating disorders,” § 509.053(a)(1). Examples include books such as

The Awakening (1899), Sylvia Plath’s The Bell Jar (1963), The Perks of Being a

Wallflower (1999), and television series like 13 Reasons Why (2017-2020). In

addition, discussions about assisted suicide for those with terminal illnesses

in online support groups could be said to “glorify” suicide in some cases. Cf.

Peter Singer, Practical Ethics (3d ed. 2011).



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    “Substance abuse.” Literature and popular culture are replete with exam-

ples of protected speech that “promotes, glorifies, or facilitates . . . substance

abuse.” § 509.053(a)(2). Examples include The Weeknd’s Kids’-Choice-

Award-nominated song Can’t Feel My Face (2015) and the film Fear and Loath-

ing in Las Vegas (1971). In everyday life, people discuss substance use when

they are part of support-group discussions about using drugs to address ill-

nesses or when they discuss weekend nights spent at the bar binge drinking.
These examples “promote” or “glorify” “substance abuse.”

    “Stalking, bullying, or harassment.” Many protected works of art and liter-

ature “promote[], glorif[y], or facilitate[] . . . stalking, bullying, or harass-

ment.” § 509.053(a)(3). Examples include The Police’s Every Breath You Take

(1983) and entire categories at large bookstores (e.g., Stalking – Fiction,

Barnes & Noble, https://perma.cc/6T8L-DZGR). In some cases, posting cop-
ies (or “screenshots”) of another user’s speech may “facilitate” harassment

of that user. In others, posts about confronting politicians at local town halls

could “glorify” harassment of those politicians.

    “Grooming, trafficking, child pornography, or other sexual exploitation or

abuse.” Perhaps more than any other category that HB18 identifies, websites

work diligently to avoid disseminating any speech that “promotes, glorifies,

or facilitates . . . grooming, trafficking, child pornography, or other sexual

exploitation or abuse.” § 509.053(a)(4); see supra p.6; ROA.150 ¶ 15 (Szabo

Decl.); ROA. 170-72 ¶¶ 19.e, 23 (Veitch Decl.); ROA.185 ¶¶ 12-13 (Pai Decl.).

Although child pornography and sexual abuse are obviously illegal, the

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Supreme Court has acknowledged that “teenage sexual activity and the sex-

ual abuse of children” have “inspired countless literary works” protected by

the First Amendment, such as “Romeo and Juliet” and “American Beauty.”

Ashcroft v. Free Speech Coal., 535 U.S. 234, 247-48 (2002).

    “Harmful     material.”    HB18’s    definition   of   “harmful      material”

(§ 509.053(a)) does not distinguish between content that is obscene to chil-

dren versus teenagers. Laws regulating even unprotected obscenity for mi-
nors must account for the differences between these ages. See Virginia v. Am.

Booksellers Ass’n, Inc., 484 U.S. 383, 391 (1988).

    b. Defendant does not refute that HB18’s plain text encompasses wide

swaths of protected speech. Instead, Defendant argues that the district court

erred by not limiting the statute’s scope in various ways, principally to con-

tent engendering “direct inducement of harm, excluding protected speech.”
Br.45. But Defendant must engage with HB18’s plain language and cannot

simply wave away all the obviously unconstitutional applications. Limiting

constructions are permissible only when the statute’s text is “susceptible” to

such constructions. City of Houston, Tex. v. Hill, 482 U.S. 451, 468 (1987).

Courts cannot “rewrite a . . . law to conform it to constitutional require-

ments.” Serafine v. Branaman, 810 F.3d 354, 369 (5th Cir. 2016) (alteration in

original; citation omitted).

    At its core, HB18 impermissibly attempts to “create new categories of

unprotected speech”—or “create a wholly new category of content-based

regulation that is permissible only for speech directed at children.” Brown,

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564 U.S. at 792, 794. The Supreme Court has repeatedly rejected this “mis-

taken” approach. Id.; see United States v. Stevens, 559 U.S. 460, 472 (2010)

(States cannot “declare new categories of speech outside the scope of the

First Amendment”).

    HB18’s text is not susceptible to Defendant’s limiting constructions be-

cause HB18’s content categories stray far beyond well-constrained defini-

tions of unprotected speech. ROA.425-26. Texas deliberately used novel stat-
utory terms with unprecedented breadth. That entails First Amendment

consequences. It is not permissible for the government to regulate speech

resembling some elements of unprotected speech. Rather, governments must

ensure the restrictions apply carefully to only historically recognized cate-

gories of unprotected speech. E.g., Brown, 564 U.S. at 792 (“California has

tried to make violent-speech regulation look like obscenity regulation by ap-
pending a saving clause required for the latter. That does not suffice.”). And

there are no “longstanding and pervasive” judicial constructions for what it

means to unlawfully promote or glorify all manner of social ills. United States

v. Hansen, 599 U.S. 762, 773 (2023).

    HB18’s unconstitutional breadth comes from its unique combination of

verbs lacking constitutionally defined and approved limitations (e.g., “glo-

rify”) and objects that can encompass (sometimes) unprotected conduct (e.g.,

“trafficking”). The Act does not, as Defendant says, “require[] filtering

things like child pornography.” Br.50-51. HB18 requires filtering content

that, e.g., “glorifies” “child pornography.” § 509.053(a). Separate Texas law

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regulates “child pornography,” Tex. Pen. Code § 43.26, and other conduct

that Defendant highlights (e.g., Br.37). See infra pp.36-37. However objection-

able the State—as well as CCIA’s and NetChoice’s members—may find it,

speech glorifying substance abuse is fully protected by the First Amend-

ment. (Perhaps that is why, in the district court, Defendant all but conceded

that HB18’s use of “glorify” was unconstitutional. ROA.256.) HB18’s other

content categories fare no better. Several Circuits have held that statutes us-
ing similar language, including “promote,” violate the First Amendment by

restricting protected speech. E.g., Miselis, 972 F.3d at 536 (“‘promote’” is

“overinclusive” as “between advocacy and action”); Gay Lesbian Bisexual All.

v. Pryor, 110 F.3d 1543, 1550 (11th Cir. 1997) (law prohibiting “foster[ing],”

“promot[ing],” and “encourag[ing]” “was overbroad”); Nat’l Gay Task Force

v. Bd. of Educ. of City of Oklahoma City, 729 F.2d 1270, 1274 (10th Cir. 1984)
(similar).

    The only instance in which HB18 might regulate categories of unpro-

tected speech is when it restricts speech that “facilitates” crimes.

§ 509.053(a)(4).7 But other Texas law already regulates true facilitation of

crimes. See infra pp.36-37. In any event, the Hansen case Defendant cites to

support HB18’s unique use of “facilitates” underscores how inappropriate

that term is for a law mandating content filtering and blocking. Br.45. In



7 Not all of HB18’s content categories pertain to speech related to illegal ac-
tions. “Substance abuse,” for example, is not necessarily illegal.

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Hansen, the Supreme Court rejected a First Amendment overbreadth chal-

lenge to a federal law that “prohibits ‘encouraging or inducing’ illegal im-

migration.”    599   U.S.    at   766   (cleaned    up)    (quoting    8      U.S.C.

§ 1324(a)(1)(A)(iv)). The Court said that this statute “refer[s] to criminal so-

licitation and facilitation,” which both “require that the defendant specifically

intend that a particular act be carried out.” Id. at 771, 778 (emphasis added).

In other words, the government must prove a criminal defendant’s mens rea
for “facilitation” to rise to the level of unprotected speech. These kinds of

mens rea requirements are often integral to identifying unprotected speech.

E.g., Elonis v. United States, 575 U.S. 723, 737 (2015) (“The mental state re-

quirement must therefore apply to the fact that the communication contains

a threat.”); Smith, 361 U.S. at 153 (invalidating ordinance that “dispens[ed]

with any requirement of knowledge of the contents of the book”).
    Even assuming that a court could read a mens rea requirement into HB18

for its prohibited content categories, it is entirely unclear how covered websites

are supposed to divine specific, criminal intent when pre-screening millions,

if not billions, of online posts. That is a fundamental problem with atextually

limiting HB18 to only unprotected speech: Defendant does not explain how

websites should become arbiters of what speech is protected versus unpro-

tected. “‘[T]he line between speech unconditionally guaranteed and speech

which may legitimately be regulated, suppressed, or punished is finely

drawn.’ Error in marking that line exacts an extraordinary cost.” Playboy, 529

U.S. at 817 (citation omitted). That is why we entrust courts to analyze speech

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on a case-by-case basis, subject to due process and First Amendment safe-

guards. But HB18 “delegat[es] the controversial question of what content

may” fall into its censorship categories “to the companies themselves.”

Bonta, 113 F.4th at 1122. Governmental demands that websites make those

granular distinctions at massive scale—upon threat of massive civil penal-

ties—will inevitably chill the dissemination of protected speech.

    Similarly, HB18’s regulation of “harmful material” poses similar prob-
lems. § 509.053(a). To be sure, obscene content for minors is unprotected

speech as to minors. Free Speech Coalition, Inc. v. Paxton, 2025 WL 1773625, at

*7 (U.S. June 27, 2025). That is why Texas separately regulates websites that

“knowingly and intentionally publish[] or distribute[]” content “more than

one-third of which is sexual material harmful to minors.” Tex. Civ. Prac. &

Rem. Code § 129B.002(a) (emphasis added). By requiring other websites
(lacking such mens rea) to continually monitor for individual pieces of such

content, however, HB18 violates Supreme Court precedent preventing the

government from requiring private entities to pre-screen the speech they dis-

seminate to the public. Under such laws, private entities “will tend to restrict

the” content they disseminate “to those [they have] inspected; and thus the

State will have imposed a restriction upon the distribution of constitution-

ally protected as well as obscene literature.” Smith, 361 U.S. at 153.

    More generally, the Supreme Court’s decision in Free Speech Coalition,

has no bearing here. HB18 triggers strict scrutiny because it imposes a prior

restraint and content-based and viewpoint-based restrictions on protected

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speech for minors. The Texas law in Free Speech Coalition required age verifi-

cation to access websites with large amounts of obscenity for minors, which

is unprotected for minors. 2025 WL 1773625, at *7. HB18 by contrast, “di-

rect[ly] target[s] . . . fully protected speech.” Id. at *12. And it affirmatively

requires covered websites to monitor for and censor such content—which is

different from the age verification Texas otherwise requires for dissemina-

tion of large amounts of obscenity for minors. Whatever kinds of “valid reg-
ulation[s]” the State can impose on “the pornography industry,” id. at *18,

HB18 here regulates websites that disseminate vast amounts of protected

speech for minors and adults alike.

    HB18 is therefore the kind of law regulating protected speech that the

Supreme Court recognized would present far different issues. Id. at *10 n.7.

That means strict scrutiny applies, which Free Speech Coalition declared “is
fatal in fact absent truly extraordinary circumstances.” Id. at *12.

    c. Defendant also incorrectly claims that this Court can sever unlawful

provisions, or even individual “applications,” but keep HB18’s monitoring-

and-censorship requirements otherwise intact. Br.50-51.

    To begin, there is no support for the proposition that overbroad speech

restrictions can be saved by purporting to sever unconstitutional “applica-

tions” of these overbroad laws. This would nullify the First Amendment’s

overbreadth doctrine. It would permit governments to pass deliberately

overbroad speech regulations—with both unconstitutional and constitu-

tional applications—and then disclaim all unconstitutional applications.

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Such a purported remedy would only exacerbate the problems the over-

breadth doctrine is designed to address. Hill, 482 U.S. at 458-59. A statute

prohibiting “all speech” with a judicial construction that “all speech” only

means “all speech the government is allowed to regulate,” would hardly

provide people with the requisite notice. That lack of notice chills protected

speech. Hansen, 599 U.S. at 769-70.

    In addition, none of HB18’s individual content categories are severable.
For starters, HB18’s prior restraint is a prior restraint in all of its applications.

See supra pp.17-19. Plus, none of the Act’s provisions are severable as per-

missible regulations of unprotected speech. For instance, the Act does not

explicitly require “filtering things like child pornography.” Contra Br.51. Ra-

ther, it regulates particular kinds of speech about prohibited topics—speech

“glorifying, promoting, and facilitating” those topics. See supra pp.20-23;
§ 509.053(a). That regulation ensnares both protected and unprotected

speech; it cannot be lopped off cleanly.

    Finally, as discussed below in Part II.A.3, HB18 is pervasively infected

with a central coverage definition that itself constitutes an unlawful content-

based regulation of speech. Severing any of the separately unlawful opera-

tive provisions would not cleanse HB18 of its constitutional defects.




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        3. HB18’s monitoring-and-censorship requirements trigger
           strict scrutiny for the additional reason that they rely on
           HB18’s content-based coverage definition.
    The district court also correctly concluded that HB18’s central “digital

service provider” coverage definition (§§ 509.001(1)-(2), 509.002(a)) selects

websites for “regulation” based on “content.” Reed, 576 U.S. at 163-64;

ROA.411-15. Under HB18’s plain text, “whether any particular [website]

falls within the ban is determined by the content of the posts resting inside

that” website. Griffin, 2025 WL 978607, at *9 (cleaned up).

    At the outset, HB18’s central coverage definition targets websites based
on whether they allow users to interact “socially.” § 509.002(a)(1). This defi-

nition singles out websites facilitating “social interaction” and user-gener-

ated dialogue, while exempting websites focused on other forms of content
and communication. In other words, the Act will restrict speech based on the

“topic[s]” that are generally “discussed” on the website. Reed, 576 U.S. at 163.

    Defendant’s position would require this Court to ignore the Act’s limi-

tation to “social interaction” by interpreting the phrase to include all expres-

sion online: “Social speech can be about anything.” Br.33; see § 509.002(a)(1)

(“socially interact”). If any online interaction is a “social” interaction, there

was no reason for the Legislature to have added the qualifier “socially.”

Texas courts “giv[e] effect to every word, clause, and sentence” in a statute.

KMS Retail Rowlett, LP v. City of Rowlett, 593 S.W.3d 175, 184 (Tex. 2019) (al-

teration in original; citation omitted). And if Defendant were correct, that



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would only expand the scope of the Act’s coverage, requiring more websites

to comply with the Act’s unconstitutional speech restrictions.

    In addition, HB18 codifies overtly content-based and speaker-based ex-

ceptions, including for websites that disseminate “content primarily gener-

ated or selected by the” website, or that “primarily” feature “news, sports,

[or] commerce.” § 509.002(b)(10)(A); see Barr v. Am. Ass’n of Pol. Consultants,

591 U.S. 610, 620-21 (2020) (controlling plurality op.) (content-based excep-
tions render entire statute content-based).8 So the Act offers favorable treat-

ment to websites that allow interaction solely regarding some “content” (e.g.,

news or sports), while restricting websites that allow people to interact re-

garding other “content” (e.g., politics or religion). If a covered website

changed to allow only (state-favored) speech about these excluded

“topic[s],” it could escape regulation. Reed, 576 U.S. at 163.
    In any event, HB18 is also speaker-based, for all of the reasons discussed

above and for the additional reason that the Act singles out websites based

on whether the speech on it is “primarily generated or selected by the digital

service provider.” § 509.002(10)(A). “[L]aws that single out the press, or cer-

tain elements thereof . . . are always subject to at least some degree of




8Even if NetChoice, L.L.C. v. Paxton held otherwise, that decision was vacated
by the Supreme Court. See 49 F.4th 439, 481 (5th Cir. 2022), vacated and re-
manded sub nom. Moody, 603 U.S. 707.

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heightened First Amendment scrutiny.” Turner Broad. Sys., Inc. v. FCC, 512

U.S. 622, 640-41 (1994) (citation omitted).

    Defendant’s attempts to paint HB18 as content-neutral are unavailing.

Defendant contends that the Act imposes “medium-based distinctions, not

content-based distinctions.” Br.31. But HB18 partially defines regulated me-

dia with reference to its content. If the State wanted to target only “platforms

where users drive conversation through posts, comments, or shares,” Br.31,
there was no need to specify that HB18 exempts services that “primarily

function[] to provide a user with access to news, sports, [or] commerce.”

§ 509.002(10)(A).

    Defendant’s unwise reliance on Turner also illustrates why HB18 is con-

tent based. Br.30-31. In Turner, “Congress . . . required cable operators to pro-

vide carriage to broadcast stations, but [did] not impose[] like burdens on
analogous video delivery systems.” 512 U.S. at 659. The Supreme Court con-

cluded that this distinction was not based on content. Id. at 643-44. After con-

cluding that the law was content-neutral, Turner held that this must-carry

law was one of the rare, permissible speaker-based distinctions “justified by

special characteristics of the cable medium: the [‘physical’] bottleneck mo-

nopoly power exercised by cable operators and the dangers this power poses

to the viability of broadcast television.” Id. at 661. Or as Moody put it, Turner

depended on “limit[ing] the cable operators’ ‘monopolistic,’ gatekeeping po-

sition ‘in order to allow for the survival of broadcasters.’” 603 U.S. at 742

n.10 (quoting Hurley v. Irish-Am. Gay, Lesbian & Bisexual Grp. of Boston, 515

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U.S. 557, 577 (1995)). In contrast, there are no such “special justifications”

here or on the internet, as the Supreme Court subsequently clarified. See Reno

v. ACLU, 521 U.S. 844, 868-69 (1997). Turner would have come out differently

if Congress had privileged broadcast channels dedicated to particular con-

tent like news, or if it had only required cable companies that primarily dis-

tribute movie channels to carry broadcast channels. That is analogous to

what HB18 does here.

    B. HB18’s monitoring-and-censorship requirements fail any
       form of heightened First Amendment scrutiny.
    Because HB18’s monitoring-and-censorship requirements trigger strict

scrutiny multiple times over, Defendant must show that the State has
“[1] adopt[ed] the least restrictive means of [2] achieving a compelling state

interest.” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 607 (2021) (“AFP”)

(cleaned up). “Strict scrutiny is unforgiving because it is the standard for
reviewing the direct targeting of fully protected speech. . . . [A]s a practical

matter, it is fatal in fact absent truly extraordinary circumstances.” Free

Speech Coal., 2025 WL 1773625, at *12.

    Even accepting that “protecting the physical and psychological well-be-

ing of minors” is a valid governmental interest for some of HB18’s censorship

categories, the district court correctly held that the monitoring-and-censor-

ship requirements are not properly tailored. ROA.418-21 (citation omitted).




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       1. The State lacks the necessary compelling governmental
          interest in regulating access to, and dissemination of,
          protected speech.
   The district court correctly recognized that “[i]t is far from clear that

Texas has a compelling interest in preventing minors’ access to every single

category of information” that HB18 requires to be monitored and censored.

ROA.418.

   “No doubt a State possesses legitimate power to protect children from

harm, but that does not include a free-floating power to restrict the ideas to

which children may be exposed.” Brown, 564 U.S. at 794-95 (citation omit-
ted). “Speech that is neither obscene as to youths nor subject to some other

legitimate proscription cannot be suppressed solely to protect the young

from ideas or images that a legislative body thinks unsuitable for them.”
Erznoznik, 422 U.S. at 213-14. Accordingly, “many interests are not compel-

ling, such as regulating content that might advocate for the deregulation of

drugs (potentially ‘promoting’ ‘substance abuse’) or defending the morality

of physician-assisted suicide (likely ‘promoting’ ‘suicide’).” ROA.418.

   As for other content categories, Defendant must demonstrate “the cur-

tailment of free speech [is] actually necessary to the solution,” Brown, 564

U.S. at 799—including “hard evidence of how widespread or how serious

the problem” is, Playboy, 529 U.S. at 819 (cleaned up). It must “show a direct

causal link,” Brown, 564 U.S. at 799, between that “problem” and the “speech




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ban” it imposes, Playboy, 529 U.S. at 823. Defendant has failed entirely to

make any such showing.

        2. HB18’s monitoring-and-censorship requirements are not
           the least-restrictive means of pursuing any legitimate
           governmental interest, and they are both overinclusive
           and underinclusive.
    Regardless of the State’s governmental interest, HB18’s monitoring-and-

censorship requirements are not properly tailored. See ROA.418-21.

    a. HB18’s requirements are not the “least restrictive means of achieving
a compelling state interest.” AFP, 594 U.S. at 607 (citation omitted); see

ROA.419. There are many existing means to address the harms (and the

speech) the State seeks to regulate.
    Covered websites—and those operated by CCIA’s and NetChoice’s mem-

bers in particular—already engage in extensive content moderation to ad-

dress precisely the kinds of content that HB18 targets. See supra pp.5-7;

ROA.147-53 ¶¶ 12-17 (Szabo Decl.); ROA.168-70 ¶ 19 (Veitch Decl.);

ROA.185 ¶ 13 (Pai Decl.); ROA.419. The Supreme Court has endorsed similar

“voluntary,” industry-led efforts over governmental mandates restricting

speech. E.g., Brown, 564 U.S. at 803.

    Supplementing covered websites’ efforts, parents also have many tools—

including those offered by social media companies—to control whether and

how their children use covered websites. See supra pp.4-5; ROA.419. Texas

could give “parents the information needed to engage in active supervision”



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over their children’s internet use. Playboy, 529 U.S. at 826. That would require

little more than the State itself publicizing the diverse supervisory technolo-

gies that are widely available. “It is no response that [these tools] require[] a

consumer to take action, or may be inconvenient, or may not go perfectly

every time.” Id. at 824. “[I]f a less restrictive means is available for the Gov-

ernment to achieve its goals, the Government must use it.” Id. at 815. And

whatever “modest gap in concerned parents’ control” those tools may leave
open, filling it “can hardly be a compelling state interest.” Brown, 564 U.S. at

803.

    In addition, the State has its own remedial tools. For the potentially un-

protected speech HB18 might regulate, the “normal method of deterring un-

lawful conduct is to impose an appropriate punishment on the person who

engages in it.” Bartnicki v. Vopper, 532 U.S. 514, 529 (2001). The Supreme
Court has rejected “suppress[ing]” the speech of “law-abiding” private enti-

ties just “to deter conduct by a non-law-abiding third party.” Id. at 529-30.

    Texas already penalizes, or otherwise regulates, the harmful conduct re-

lated to the speech HB18 seeks to censor:

       • “A person commits an offense if, with intent to promote or assist
         the commission of suicide by another, he aids or attempts to aid the
         other to commit or attempt to commit suicide.” Tex. Pen. Code
         § 22.08(a); see also Tex. Hum. Res. Code § 42.0433 (requiring suicide-
         prevention in residential child-care facilities).

       • “A person commits an offense if the person knowingly delivers a
         controlled substance . . . [or] marihuana . . . to a person . . . who is a


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         child.” Tex. Health & Safety Code § 481.122(a); see also id.
         §§ 461A.001-469.008 (establishing substance abuse programs).

      • “A person commits an offense [by] . . . send[ing] repeated electronic
        communications in a manner reasonably likely to harass.” Tex. Pen.
        Code § 42.07(a); see also id. §§ 42.07(c) (raising offense level if “the
        offense was . . . against a child”); 42.072 (establishing stalking as an
        offense); Tex. Civ. Prac. & Rem. Code § 129A.002(a) (establishing
        remedies for a victim “of cyberbullying behavior who is younger
        than 18”).

      • Texas law also has criminal provisions prohibiting child grooming,
        Tex. Pen. Code § 15.032; child trafficking, id. § 20A.02; child sexual
        abuse, id. § 21.02; sexual assault, id. § 22.011; “child pornography,”
        id. § 43.26; and obscenity for minors, id. § 43.24.
In addition to these direct prohibitions, Texas law separately provides for

criminal liability for aiding or abetting other crimes, including actions made

with the “intent to promote or assist the commission of the offense.” Id.

§ 7.02(2) (emphasis added).

   When speech restrictions are “superimposed upon the State’s criminal

regulation[s],” as HB18 does here, the speech restrictions are “largely unnec-

essary.” Bantam Books, 372 U.S. at 69. HB18 will chill protected speech with

virtually no corresponding benefit. E.g., Arizona Free Enter. Club’s Freedom

Club PAC v. Bennett, 564 U.S. 721, 752 (2011). That is why the Supreme Court

has repeatedly rejected this kind of “prophylaxis-upon-prophylaxis” ap-
proach for speech regulations. Cruz, 596 U.S. at 306.

   b. HB18’s monitoring-and-censorship requirements are both “seriously

underinclusive” and “seriously overinclusive.” Brown, 564 U.S. at 805.


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    HB18 is overinclusive for multiple reasons. “Government may not regu-

late expression in such a manner that a substantial portion of the burden on

speech does not serve to advance its goals.” Ward v. Rock Against Racism, 491

U.S. 781, 799 (1989). For instance, HB18 regulates websites no matter whether

minors are likely to use them, and without determining which websites (if

any) may be harmful to minors.

    The Act is overinclusive also because it fails to “take into account juve-
niles’ differing ages and levels of maturity.” Am. Booksellers, 484 U.S. at 396.

Even assuming that the government can prevent younger teenagers from

“read[ing] Peter Singer advocate for physician-assisted suicide in Practical

Ethics,” it has no legitimate interest in preventing a 17-year-old college fresh-

man from doing so. ROA.420.

    And HB18’s overinclusive effects may not be limited only to minors.
Some covered websites may not be able to “age-gate” content such that mi-

nors and adults view different content on the service. ROA.132 ¶ 15 (Schru-

ers Decl.). So the Act could “reduce the adult population . . . to reading only

what is fit for children.” Butler v. Michigan, 352 U.S. 380, 383 (1957).

    HB18 is also “wildly underinclusive when judged against its asserted

justification,” which “is alone enough to defeat it.” Brown, 564 U.S. at 802;

ROA.420. The Act’s coverage definition targets only a handful of websites

for regulation. Minors can encounter speech identified by the Act in books,

television, movies, and other websites excluded from the Act’s scope—such

as streaming services like Hulu and myriad blogs and other websites.

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“Websites that ‘primarily’ produce their own content are exempted, even if

they host the same explicitly harmful content such as ‘promoting’ ‘eating

disorders’ or ‘facilitating’ ‘self-harm.’” ROA.420. The State’s “wise” decision

not to regulate other protected media sources (“wise” because it would be

similarly unconstitutional) nevertheless renders the Act “underinclusive.”

See Brown, 564 U.S. at 801-02. If anything, HB18 targets the kinds of websites

that are most likely to have content moderation in place to address this kind
of content.

    c. Finally, HB18’s monitoring-and-censorship requirements risk being

counterproductive to the State’s goal of effective content moderation.

    HB18 will hinder websites’ ability to address potentially harmful content

by dictating the technical means by which websites must moderate that con-

tent. Each website has developed its own content-moderation system that it
continuously calibrates to address the content on its service and the specific

mix of hurdles it faces. E.g., ROA.177-79 ¶¶ 35-39 (Veitch Decl.). HB18 will

replace those bespoke systems with an already-outmoded, static checklist.

E.g., ROA.136-37 ¶ 21 (Schruers Decl.); ROA.186 ¶ 15 (Pai Decl.); ROA.178-

79 ¶ 37 (Veitch Decl.). For example, filtering and hashing content is not well-

suited to monitoring for behavioral violations, such as harassment and

grooming. ROA.134-35 ¶ 19.a-b (Schruers Decl.); ROA.154-55 ¶ 22 (Szabo

Decl.); ROA.178 ¶ 36 (Veitch Decl.). Filtering is ill-suited to address context,

making it both over- and underinclusive. ROA.178 ¶ 36 (Veitch Decl.); see

ROA.134 ¶ 19.a (Schruers Decl.); United States v. Am. Library Ass’n, Inc., 539

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U.S. 194, 201 (2003). And hashing capabilities do not exist in meaningful

forms for almost all of the categories identified by the Act. ROA.178 ¶ 36

(Veitch Decl.). Regardless, even if such capabilities existed, hashing is not a

viable approach to identifying new content or text-based content. See

ROA.154-55 ¶¶ 22 (Szabo Decl.). Finally, sharing websites’ proprietary algo-

rithms with third parties could enable malicious actors to evade moderation.

ROA.136 ¶ 19.f (Schruers Decl.); ROA.179 ¶ 38 (Veitch Decl.).

    C. The district court properly concluded that the Act is facially
       invalid under the First Amendment.

        1. HB18’s relevant “actors” and “activities” can                     be
           determined on the law’s face and the factual record.
    This Court can determine “to whom the Act applies [and] the activities
it regulates” on the face of the law and with the facts in the record. Fitch,

134 F.4th at 809. Defendant does not dispute the range of “actors” CCIA and

NetChoice say are covered by the Act.

    For the relevant “actors,” CCIA and NetChoice have identified their cov-

ered members and the “other kinds of websites” the Act “might apply to.”

Moody, 603 U.S. at 718 (emphasis added); see supra pp.3, 7-9. CCIA and

NetChoice have likewise identified other “kinds of” websites that are not

regulated by the Act, including those identified by the Fifth Circuit. Supra

pp.7-9; Fitch, 134 F.4th at 808-09. To the extent that HB18’s scope may be dif-

ferent from what CCIA and NetChoice have identified, those hypothetical

services do not present “pertinent facts” affecting the constitutional analysis.


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AFP, 594 U.S. at 618. The government has no more power to require a hard-

ware store to censor protected speech on its premises than the government

has to tell social media websites. Moody, 603 U.S. at 718. For example, if a

government prohibited playing The Beatles’ Lucy in the Sky with Diamonds, it

would not matter whether that law applied to radio stations, streaming ser-

vices, nightclubs, or clothing stores.

    As for “activities,” Moody, 603 U.S. at 724, HB18 requires covered web-
sites to monitor for and block content-based and viewpoint-based categories

of speech. That is censorship. Here too, the government cannot demand cen-

sorship in “[f]eed[s],” “direct messag[es],” or “events management.” Id. Nor

does this law only require, as Defendant claims, “‘commercially reasonable’

means to monitor and filter harmful content.” Br.48; cf. Fitch, 134 F.4th at 809

(“The district court also did not determine the ‘commercially reasonable ef-
forts,’ as used in the Act.”). HB18 requires a covered website to “develop and

implement a strategy to prevent the known minor’s exposure to” prohibited

content—not only commercially reasonable means of doing so. § 509.053(a).

Rather, HB18 requires “commercially reasonable effort[s] to ensure that the

algorithm does not interfere with the digital service provider’s duties” to

censor speech on the State’s behalf. § 509.056. So all covered websites must,

e.g., “us[e] hash-sharing technology.” § 509.053(b)(1)(C). Regardless, there is

no such thing as “commercially reasonable” censorship. It would be “com-

mercially reasonable” for a newspaper to not publish sports content if or-

dered by the State—it might actually save the newspaper money. But the

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State cannot demand that newspapers decline to publish speech about

sports.

    HB18’s outright censorship demands distinguish this case from Moody

and Paxton. The editorial discretion rights at issue in Moody differed from

those at issue here, for which the First Amendment prohibits the govern-

ment from banning or requiring private entities to block speech the govern-

ment has determined to be unacceptable. Nothing in Moody suggested the
government has authority to tell any websites they cannot disseminate par-

ticular kinds of speech.

          2. The Act’s unconstitutional applications are substantial,
             judged in relation to any hypothetically constitutional
             applications.
    The district court correctly concluded that HB18’s monitoring-and-cen-
sorship requirements are facially unconstitutional. ROA.420-21. The First

Amendment facial-challenge standard’s “less demanding” analysis asks

whether a “law’s unconstitutional applications substantially outweigh its con-

stitutional ones.” Moody, 603 U.S. at 723-24 (emphasis added). So when a law

prohibits publication of “a substantial amount of constitutionally protected”

speech defined by both content and viewpoint, it is “facially invalid.” Hill,

482 U.S. at 458-59. “Overbroad laws may deter or chill constitutionally pro-

tected speech, and if would-be speakers remain silent, society will lose their

contributions to the marketplace of ideas.’” Hansen, 599 U.S. at 769-70

(cleaned up). This First Amendment standard is designed to prevent


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governments from passing poorly drafted, poorly tailored restrictions on

speech to insulate them from facial challenges. In other words, it is designed

for laws like HB18.

    Once HB18’s scope is established, “the strict scrutiny test parallels the

facial challenge framework.” ROA.420. And under strict scrutiny, “the va-

lidity of [a] regulation depends on the relation it bears to the overall problem

the government seeks to correct, not on the extent to which it furthers the
government’s interest in an individual case.” United States v. Edge Broad. Co.,

509 U.S. 418, 430 (1993) (citation omitted). Put another way, when govern-

ments impose programmatic broad restrictions on speech, courts must ana-

lyze those broad restrictions and not individual applications of that broad

restriction. Contra Br.36-37.

    And when viewing those programmatic restrictions, courts should
“not . . . go beyond the statute’s facial requirements and speculate about hy-

pothetical or imaginary cases.” Wash. State Grange v. Wash. State Republican

Party, 552 U.S. 442, 450 (2008) (cleaned up). Rather, courts must look to a

statute’s plain meaning. For instance, a law preventing “criticism” of politi-

cal figures is facially unconstitutional, even though “criticism” is a broad

enough term to include (unprotected) defamatory criticism. The same is true

here. Defendant’s brief identifies hypothetical, constitutional applications of

the law. Br.36-37. Overbroad restrictions of speech will, of necessity, reach

unprotected speech. But the State cannot impose overbroad restrictions



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failing heightened First Amendment scrutiny and point to scattered, poten-

tially constitutional applications to defeat relief.

    Under this standard, this Court may hold HB18 unconstitutional even if

HB18’s content categories sweep far enough to regulate unprotected speech.

Its “presumptively impermissible applications” to protected speech “far out-

number any permissible ones” to unprotected speech. Stevens, 559 U.S. at

481-82. “[G]overnment [cannot] proscribe unprotected content through a
regulation that simultaneously encompasses a substantial amount of pro-

tected content.” Seals v. McBee, 898 F.3d 587, 596 (5th Cir. 2018).

        3. Defendant misconstrues what the First Amendment facial-
           challenge analysis requires.
    Defendant asks this Court to apply Moody and Fifth Circuit precedent in

a way unmoored from First Amendment facial-challenge precedent. Moody’s

facial-challenge analysis did not change the standard. 603 U.S. at 723 (citing
existing standard). Nor is it a Sisyphean mandate designed to shield over-

broad censorship laws from review. Defendant incorrectly asserts that a First

Amendment facial challenge requires a granular census of every individual

speech service and every piece of content possibly covered by a governmen-

tal speech restriction. Br.35 (“systematic account of which DSPs or content

the law targets”). That is not the law, and Moody’s reaffirmation of the preex-

isting First Amendment facial-challenge standard did not hold otherwise.

    Moody directed courts to identify “kinds of” websites—that is, catego-

ries—for which a different First Amendment analysis “might apply” based


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on the First Amendment merits arguments raised. 603 U.S. at 718. Here,

CCIA, NetChoice, and the district court did precisely that. See supra pp.3-4,

7-9; ROA.395-96.

    When the government broadly censors speech—whether directly or in-

directly—courts look to the statute’s text to determine its plain scope. E.g.,

Stevens, 559 U.S. at 474 (“We read § 48 to create a criminal prohibition of

alarming breadth.”). This, too, is not a fact-intensive inquiry. CCIA,
NetChoice, and the district court did this as well. See supra pp.20-28;

ROA.417-21; ROA.424-26.

    Defendant’s erroneous articulation of the First Amendment facial-chal-

lenge standard would make facial challenges virtually impossible, requiring

evidence about every single entity affected by the law and any potential ut-

terance affected by the law. That is not consistent with the “less demanding”
facial-challenge standard for First Amendment claims. Moody, 603 U.S. at

723-24. Under Defendant’s view, this Court could not hold facially unconsti-

tutional a law requiring, e.g., websites to monitor for and block speech criti-

cal of politicians. Litigants would first need to catalog every website on the

Internet, which would be outdated almost immediately because new web-

sites emerge every day. And then litigants would need to exhaustively iden-

tify every hypothetical piece of content criticizing politicians. The First

Amendment requires no such acrobatics to declare a content-based regula-

tion of speech facially unconstitutional. E.g., Brown, 564 U.S. at 802. The same

is true here.

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    Nothing in Moody, Fitch, or NetChoice, LLC v. Paxton, 121 F.4th 494 (5th

Cir. 2024), holds anything to the contrary. Rather, as has always been true,

courts must identify the “pertinent facts” to the constitutional merits analy-

sis. AFP, 594 U.S. at 618. Each kind of speech regulation will have different

“pertinent facts.” Id. When those facts “are the same across the board,” facial

relief is proper. Id.

    Here, the “pertinent facts” are that HB18 requires covered websites to
monitor for and block content-based and viewpoint-based categories of

speech that are overly broad. Those unconstitutional proscriptions will fall

upon every covered service, and “in every application to a covered business,

raise[] the same First Amendment issues.” Bonta, 113 F.4th at 1116; see

ROA.420-21.

III. HB18’s monitoring-and-censorship               requirements      are     also
     unconstitutionally vague.
    The district court correctly concluded that HB18’s monitoring-and-cen-

sorship requirements are “unconstitutionally vague” because “both the

verbs (promotes, glorifies, and facilitates) and the objects of those verbs

(e.g., stalking, bullying, substance abuse, and grooming) are broad and un-

defined.” ROA.424. Laws must “give fair notice of conduct that is forbidden

or required.” FCC v. Fox Television Stations, Inc., 567 U.S. 239, 253 (2012). If

“the law interferes with the right of free speech or association, a more strin-

gent vagueness test should apply.” ROA.422 (quoting Vill. of Hoffman Ests. v.

Flipside, Hoffman Ests., Inc., 455 U.S. 489, 499 (1982)). Consequently,


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“vagueness may be grounds for a pre-enforcement challenge” if a law “chills

protected speech,” even if not vague in every application. Nat’l Press Photog-

raphers Ass’n v. McCraw, 90 F.4th 770, 782 n.32 (5th Cir. 2024).

    “Terms like ‘promoting,’ ‘glorifying,’ ‘substance abuse,’ ‘harassment,’

and ‘grooming’ are undefined, despite their potential wide breadth and po-

litically charged nature.” ROA.418. HB18 does not define these liability-as-

signing terms with the “sufficient definiteness” required to ensure “that or-
dinary people can understand” their obligations. Kolender v. Lawson, 461 U.S.

352, 357 (1983). Accordingly, websites cannot be sure that their voluntary

content-moderation efforts comply with HB18’s governmental demands—

chilling their dissemination of speech. E.g., ROA.175-77 ¶¶ 31-34 (Veitch

Decl.).

    For instance, the Supreme Court has held that a law regulating speech is
void “because of vagueness” when compliance hinges on the word “pro-

mote.” Baggett v. Bullitt, 377 U.S. 360, 371-72 (1964); see ROA.424. The “range

of activities which are or might be deemed inconsistent with” promoting an

idea “is very wide indeed” and fails to “provide[] an ascertainable standard

of conduct.” Baggett, 377 U.S. at 372. Put another way, “‘promotes’ . . . [is]

susceptible of multiple and wide-ranging meanings.” United States v. Wil-

liams, 553 U.S. 285, 294 (2008).

    “The problem is even more acute with the term ‘glorifying.’” ROA.425.

The district court correctly recognized that this term “potentially includes

any content that favorably depicts a prohibited topic.” ROA.425. Given the

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breadth of this provision and uncertainty about how it will be applied, “it is

reasonable to expect that companies will adopt broad definitions that do en-

compass such plainly protected speech.” ROA.425.

    HB18’s vagueness is exacerbated by the nature of content moderation

itself: Context (across language and culture) helps determine whether con-

tent “promotes, glorifies, or facilitates” something else. ROA.131-32 ¶ 14

(Schruers Decl.); ROA.178-79 ¶¶ 36-37 (Veitch Decl.). These determinations
require “contextual analyses, weighing and balancing many factors.” Book

People, 91 F.4th at 340. The phrase “drugs are glorious!” could be sarcastic,

earnest, or quoting another person. What that phrase means depends on the

vagaries of human communication, and thus risks being “completely subjec-

tive.” Grayned, 408 U.S. at 113. Covered websites may disagree among them-

selves about the proper application of similar policies to identical content, to
say nothing of what Defendant might think.

    Accordingly, HB18 “effectively grants [the State] the discretion to [assign

liability] selectively on the basis of the content of the speech.” Hill, 482 U.S.

at 465 n.15. And given the sheer volume of speech, covered websites will be

required to simply guess at Defendant’s subjective determinations for po-

tentially billions of individual pieces of speech. ROA.424.

    Defendant’s arguments do not alleviate HB18’s vagueness. Defendant

first responds that portions of § 509.053(a) are similar to some aspects of some

of Plaintiffs’ members’ policies. Br.44-45. Similarity is not the point: The State

cannot transform subjective, private editorial standards into law. E.g.,

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Moody, 603 U.S. at 742. Nor do alleged similarities render HB18 less vague.

Companies decide how to apply their own policies, and there are still inde-

terminacies, given the complexity and variety of content. See supra p.7. Com-

panies do not—and cannot—know what Defendant thinks similar language

means. ROA.425 n.16. In addition, the fact that HB18 purportedly draws

from some companies’ editorial policies does not provide notice to other com-

panies about what those policies mean, or what Defendant thinks they mean.
    This case illustrates the dissonance. Defendant argues that many of

HB18’s prohibitions should “exclud[e] protected speech.” Br.45. But Plain-

tiffs’ members’ policies prohibit more than unprotected speech. ROA.128-29

¶¶ 8-10 (Schruers Decl.); ROA.146-53 ¶¶ 11-17 (Szabo Decl.); ROA.167-71

¶¶ 17-21 (Veitch Decl.); ROA.184-87 ¶¶ 10-17 (Pai Decl.). In fact, through

Texas House Bill 20 (2021), Texas has purported to require social media web-
sites to disseminate that objectionable (yet nevertheless protected) speech.

See Moody, 603 U.S. at 736-37.

    Defendant also argues that covered websites need only consult Texas

caselaw to find the meaning of terms like “harassment” and “trafficking.”

See Br.45 (citing cases and statutes). There are several problems with this ar-

gument. First, HB18 does not prohibit the conduct of “harassment” or “traf-

ficking.” It regulates speech about those topics. Criminal laws regulating con-

duct have “longstanding and pervasive” judicial constructions that speech

laws lack. Hansen, 599 U.S. at 773; see supra pp.23-25. And of course, the term

“glorify” has no such basis in existing criminal law. Second, HB18 requires

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covered websites to make judgments about prohibited content at enormous

scale across billions of posts. Prosecuting criminal violations, however, re-

quires case-by-case adjudication ensuring that governments prove every el-

ement for criminal liability, including mens rea requirements.

    Likewise, Defendant’s argument that HB18’s content categories should

be limited to what the State considers harmful content only magnifies the

constitutional injury. Br.45. When it comes to protected speech, covered
websites and Defendant may disagree in many cases on what is harmful.

Subjective and value-laden judgments have no role in the regulation of

speech. The State cannot pass overbroad speech restrictions and then tell

regulated entities that only the “bad speech” need be censored. “[E]sthetic

and moral judgments about art and literature . . . are for the individual to

make, not for the Government to decree.” Playboy, 529 U.S. at 818.
    Plaintiffs’ members cannot be made to guess what kind of content “pro-

motes, glorifies, or facilitates” HB18’s content-based categories, § 509.053(a),

and could “harm minors” in Defendant’s estimation. That is especially true

considering they face civil penalties of “$10,000 per violation” if they guess

incorrectly. § 17.47(c)(1) (emphasis added). Rather, covered websites must

take the statute as written by the Texas Legislature—which requires block-

ing a large amount of protected speech.




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IV. 47 U.S.C. § 230 preempts HB18’s monitoring-and-censorship
    requirements.
    The district court correctly enjoined enforcement of HB18’s monitoring-

and-censorship requirements under 47 U.S.C. § 230 as well. ROA.427-28. In

Defendant’s words, § 230 “immunizes website operators from state-law ob-

ligations . . . requir[ing] the monitoring or deletion of third-party content.” FSC

Br.30-31 (emphasis added). Yet that is precisely what HB18 does, by making

websites liable for failing to monitor and block—that is, failing to “prevent
the known minor’s exposure to”—certain user-generated content.

§ 509.053(a). In other words, HB18 purports to direct—and impose liability

for—the way that websites engage in content-moderation. It therefore runs
headlong into § 230 and is preempted.

    Congress in § 230 granted websites “broad immunity” for “all claims

stemming from their publication of information created by third parties.”
A.B. v. Salesforce, Inc., 123 F.4th 788, 794 (5th Cir. 2024) (emphasis omitted).

Under § 230, no “interactive computer service shall be treated as the pub-

lisher or speaker of any information provided by another information con-

tent provider,” e.g., a user or advertiser. 47 U.S.C. § 230(c)(1). Congress ex-

pressly preempted “inconsistent” state laws, protecting websites from

“cause[s] of action” and “liability.” Id. § 230(e)(3). So this Court need not

deeply inquire into § 230’s “preemptive purpose,” as Defendant argues. Con-

tra Br.47.




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    This Court has established a straightforward test to determine whether

§ 230 applies: “[I]f the [law] would not require the defendant to exercise some

kind of publication or editorial function, then section 230 does not preclude lia-

bility.” Salesforce, 123 F.4th at 797. In other words, this Court must ask

whether HB18 would “require [websites] to exercise publication or editorial

functions to avoid liability.” Id. Such “publication” and “editorial” functions

include: (1) “screening, monitoring, or filtering content”; (2) “reviewing or
analyzing third-party content”; (3) “transmitting or hosting third-party con-

tent”; (4) “editing or altering third-party content”; (5) “developing or enforc-

ing content-moderation policies”; or (6) “deciding how third-party content

was organized or displayed.” Id. at 799.

    This Court’s § 230 test accords with § 230’s plain meaning. Contra Br.47-

48 (contending that § 230 should be construed “no further than the text re-
quires” (citation omitted)). On its face, § 230 precludes liability for websites

failing to block user-generated content. 47 U.S.C. § 230(c), (f)(4) (“filter[ing],”

“screen[ing],” or “disallow[ing]” content). Furthermore, § 230 adopted the

common law’s conception that “treat as the publisher” means to assign fault

for the speech’s content to the speech disseminator. Id. § 230(c)(1); see Hen-

derson v. Source for Pub. Data, L.P., 53 F.4th 110, 122 (4th Cir. 2022) (“[T]o hold

someone liable as a publisher at common law was to hold them responsible

for the content’s improper character.”).

    Under this Court’s test, HB18’s monitoring-and-censorship require-

ments plainly “require [websites] to exercise publication or editorial

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functions to avoid liability.” Salesforce, 123 F.4th at 797. Section 230 likewise

preempts purported “failure[s] to implement basic safety measures to pro-

tect minors.” MySpace, 528 F.3d at 418-19. HB18 impermissibly compels web-

sites to “develop[]” and “enforc[e] content-moderation policies” that accord

with the State’s standards. Salesforce, 123 F.4th at 799. The monitoring-and-

censorship requirements are therefore preempted.

    Defendant concedes many factors justifying § 230 preemption, each of
which are plain on the face of the law and would be sufficient to declare

HB18’s monitoring-and-censorship requirements preempted. For example,

under HB18, covered websites must “filter[] content” and HB18 would pe-

nalize websites for “deciding how third-party content was organized or dis-

played.” Salesforce, 123 F.4th at 799. The statute says that websites must, e.g.,

“enforce the blocking of material or content,” § 509.053(b)(1)(B). Defendant
concedes that HB18 generally requires “filtering” or “blocking” content. E.g.,

Br.1, 5-6, 10, 36, 48. Likewise, covered websites must engage in the protected

“publication” and “editorial” functions of “screening” and “monitoring con-

tent.” Salesforce, 123 F.4th at 799; id. (“reviewing or analyzing third-party

content”). The statutory text says as much, requiring websites to, e.g., “iden-

tify recurring harmful material or other content.” § 509.053(b)(1)(C). Defend-

ant concedes this as well. Br.1, 10, 48.

    These facts and concessions demonstrate that § 230 preempts HB18’s

monitoring-and-censorship provisions under binding precedent.



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    Defendant’s contrary arguments ignore this Court’s decision in Salesforce

and threaten to nullify § 230. Defendant also misreads Free Speech Coalition,

Inc. v. Paxton, 95 F.4th 263 (5th Cir. 2024) (“FSC”), in multiple ways. In that

case, this Court held that § 230 did not preempt a law implementing “age

verification” on pornographic websites—it did not address monitoring or re-

moving content. Id. at 285. All FSC did was “reject[] a . . . but-for reading of

section 230” that asks “whether third-party speech lies anywhere in the
chain of causation.” Salesforce, 123 F.4th at 794. But preempting requirements

“to moderate content or any other functions traditionally associated with a

publisher’s role” does not rest on a “but-for” reading of § 230. Id. at 798. Ra-

ther, they fall in the heartland of § 230’s protections, as websites “cannot be

held liable for harmful communications that they fail to remove.” FSC, 95

F.4th at 285. HB18’s “monitoring-and-filtering requirements necessarily de-
rive their liability from the type of content a site displays.” ROA.428.

    Thus, Defendant is incorrect in claiming that § 230 permits States to re-

quire “compliance with technological requirements” for “content filtering.”

Br.48. In essence, Defendant argues that States are allowed to require content

moderation. FSC said no such thing. Cf. Salesforce, 123 F.4th at 794. And De-

fendant’s own defense of the age-verification law in FSC rested on precisely

the argument that requiring age verification is permissible because it does

not “require the monitoring or deletion of third-party content.” FSC Br.30-31

(emphasis added).



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    Defendant’s defamation example illustrates the problem with this argu-

ment. Br.48-49 (discussing Stratton Oakmont, Inc. v. Prodigy Services Co., 1995

WL 323710 (N.Y. Sup. Ct. May 24, 1995)); see ROA.428. Under Defendant’s

§ 230 interpretation, States could penalize websites for alleged failures to

adopt “technological requirements” “implementing content filters,” Br.48,

addressing defamatory content. Yet, Defendant recognizes that Congress in-

tended § 230 to protect websites from defamation liability for third-party
content. Br.48-49. What Defendant contends are paradigmatic cases for § 230

protection are thus the same cases where websites disseminate and fail to

moderate content.

    Defendant also incorrectly argues that § 230 preempts only laws that

“impose liability for ‘the harm done by third-party content.’” Br.38 (quoting

FSC, 95 F.4th at 285). As an initial matter, HB18’s monitoring-and-censorship
requirements would satisfy even this test. Both HB18’s text and Defendant’s

arguments rely on the idea of HB18 preventing harm. The monitoring-and-

censorship requirements are referred to in HB18 as “digital service provider

duty to prevent harm.” § 509.053 (emphasis added). And Defendant repeat-

edly says that the monitoring-and-censorship requirements are intended to

“protect[] children from insidious online harms.” Br.3; see Br.4, 10-12, 14, 19-

20, 26, 32, 34, 43-45.

    Regardless, Salesforce makes clear that the core inquiry is whether a law

requires websites to “exercise some kind of publication or editorial func-

tion.” Salesforce, 123 F.4th at 797. There is no additional requirement for a law

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to specifically address harms to users. Nor are there § 230 exceptions for laws

that purportedly aim to “give parents more control over the content their

minor children see.” Contra Br.49.

    Defendant meritlessly asserts that applying § 230’s plain text here

“would mean [§ 230] preempts all State efforts to protect children from

online content.” Br.49. That is not true. This Court’s precedents provide ex-

amples of ways to address online harms. See Salesforce, 123 F.4th at 797; FSC,
95 F.4th at 285. What States cannot do is commandeer websites’ content mod-

eration and penalize imperfect content moderation.9

    Finally, there is no tension between websites asserting both First Amend-

ment rights and § 230’s protections. The First Amendment protects websites’

“content choices” with respect to the display of user-generated content.

Moody, 603 U.S. at 742 (citation omitted). And § 230 says that websites are
not liable for removing or not removing (due to mistake or otherwise) speech

“provided by another [user].” 47 U.S.C. § 230(c)(1). In other words, § 230 pro-

tection applies to protect a website’s decisions as to user-generated speech,

even though websites simultaneously are engaging in First Amendment pro-

tected activity when they curate compilations of, and display and




9Covered websites’ own private content moderation demonstrates that they
are not “purposefully putting ‘offensive material’ onto the Internet,” as De-
fendant suggests. Br.49 (citation omitted).

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disseminate, that speech. Moody, 603 U.S. at 728. The First Amendment and

§ 230 each promote free speech, and there is no conflict between them.

V. The other preliminary-injunction factors favor CCIA and
   NetChoice.
    CCIA and NetChoice have shown “arguably the most important fac-

tor: likelihood of success on the merits.” Netflix, Inc. v. Babin, 88 F.4th 1080,

1099 (5th Cir. 2023). They meet the other factors too.

    Because CCIA and NetChoice are likely to succeed on the merits of their
First Amendment challenge, HB18 necessarily causes irreparable harm. Lit-

igants “satisf[y] the irreparable-harm requirement” when they “allege[] vi-

olations of [the] First Amendment.” Opulent Life Church v. City of Holly
Springs, 697 F.3d 279, 295 (5th Cir. 2012); id. (“no further showing of irrepa-

rable injury is necessary” (citation omitted)); see Book People, 91 F.4th at 340-

41 (same). That is because “[t]he loss of First Amendment freedoms, for even
minimal periods of time, unquestionably constitutes irreparable injury.” Ro-

man Cath. Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 19 (2020) (citation omit-

ted). The Act’s penalties magnify these harms: $10,000 per violation.

    Lifting the injunction would also require covered websites to incur un-

recoverable compliance costs. Ohio v. EPA, 603 U.S. 279, 291-92 (2024); Book

People, 91 F.4th at 341 (“almost always produces the irreparable harm of non-

recoverable compliance costs” (citation omitted)). Covered websites will

need to adopt systems that comply with HB18’s technical requirements.

ROA.177-79 ¶ 35-37 (Veitch Decl.); ROA.186 ¶ 15 (Pai Decl.).


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    The final factors—“harm to the opposing party and weighing the public

interest”—“merge” in lawsuits against the government. Nken v. Holder, 556

U.S. 418, 435 (2009). “Injunctions protecting First Amendment freedoms are

always in the public interest.” Opulent Life, 697 F.3d at 298 (cleaned up).

    Defendant disputes none of this. See Br. 51-52. Instead, Defendant argues

that the injunction “delay[s] [Texas’s] ability to protect children.” Br.52. Yet

the State cannot do that in an unconstitutional manner. Many other actors
will continue to protect minors. CCIA’s and NetChoice’s members will con-

tinue moderating content. See supra p.6. Parents can use existing private

tools, which the State can support. See supra pp.4-5. And Texas can enforce

existing laws. See supra p.37.

                                 C ONCLUSION
    This Court should affirm.

Dated: July 3, 2025                          Respectfully submitted,

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                        C ERTIFICATE OF S ERVICE
   I certify that on July 3, 2025, this brief was served via CM/ECF on all

registered counsel and transmitted to the Clerk of the Court. No paper cop-

ies were filed in accordance with the changes ordered in General Docket No.

2020-3.


                                            /s/ Scott A. Keller
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